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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA

                           CASE No. 8:21-cv-01572-KKM-SPF

BRYTON ENNIS,

      Plaintiff,

vs.

HEALTHCARE REVENUE
RECOVERY GROUP, LLC,

     Defendant.
____________________________________________/

           JOINT STIPULATION OF VOLUNTARY DISMISSAL
                       WITHOUT PREJUDICE

      Plaintiff Bryton Ennis and Defendant Healthcare Revenue Recovery Group,

LLC, by and through respective undersigned counsel, pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby file this Joint

Stipulation of Voluntary Dismissal without Prejudice of the above styled action.

Plaintiff and Defendant shall each bear their own attorneys’ fees and costs. All

parties have reviewed this stipulation.

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DATED: October 11, 2021

 /s/ Thomas J. Patti                .       /s/ Ernest H. Kohlmyer              .
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